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6
                                     UNITED STATES DISTRICT COURT
7

8                EASTERN DISTRICT OF CALIFORNIA – SACRAMENTO DIVISION

9
                                                  CASE NO.
10
     Charles Wright,
11
                               Plaintiff,         PLAINTIFF’S COMPLAINT FOR DAMAGES:
12
            v.
13                                                  1. Violation of the Rosenthal Fair Debt
                                                       Collection Practices Act
14   USAA Savings Bank                              2. Violation of the Telephone Consumer
                                                       Protection Act
15                             Defendant.
16

17
            COMES NOW Plaintiff Charles Wright, an individual, based on information and belief,
18
     to allege as follows:
19

20                                          INTRODUCTION

21      1. This is an action for damages brought by an individual consumer for Defendant’s

22   violations of the Rosenthal Fair Debt Collection Practices Act, Cal. Civ. Code §1788, et seq.

23   (hereinafter “Rosenthal Act”), which prohibits debt collectors from engaging in abusive,

24   deceptive, and unfair practices, violation of the Telephone Consumer Protection Act 47 U.S.C.

25   §227, et seq. (hereinafter “TCPA”), which prohibits the use of automated dialing equipment

26   when making calls to consumers.

27      2. Plaintiff brings this action against Defendant USAA FSB (hereinafter “USAA”) for its

28   abusive and outrageous conduct in connection with debt collection activity.

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1        3. In Calif. Civil Code § 1788.1(a)-(b), the California Legislature made the following
2    findings and purpose in creating the Rosenthal Act:
            (a)(1) The banking and credit system and grantors of credit to consumers are
3
            dependent upon the collection of just and owing debts. Unfair or deceptive
4           collection practices undermine the public confidence which is essential to the
            continued functioning of the banking and credit system and sound extensions of
5           credit to consumers.
6
              (2) There is need to ensure that debt collectors and debtors exercise their
7             responsibilities to another with fairness and honesty and due regard or the rights
              of the other.
8
              (b) It is the purpose of this title to prohibit debt collectors from engaging in unfair
9
              or deceptive acts of practices in the collection of consumer debts and to require
10            debtors to act fairly in entering into and honoring such debts, as specified in this
              title.
11

12
         4. While many violations are described below with specificity, this Complaint alleges
     violations of the statutes cited in their entirety.
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         5. The TCPA was designed to prevent calls like the ones described herein, and to protect the
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     privacy of citizens like Plaintiff, and by enacting the TCPA, Congress intended to give
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     consumers a choice as to how corporate entities may contact them and to prevent the nuisance
16
     associated with automated or prerecorded calls.
17
                                        JURISDICTION & VENUE
18
         6. This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and 1367, and 47 U.S.C. §
19
     227.
20
         7. This venue is proper pursuant to 28 U.S.C. §1391(b).
21
                                      GENERAL ALLEGATIONS
22
         8.    Plaintiff Charles Wright (hereinafter “Plaintiff”) is an individual residing in the state of
23   California, and is a “debtor” as defined by Cal. Civ. Code §1788.2(g).
24       9.    At all relevant times herein, Defendant USAA engaged, by the use of mail, email, and
25   telephone, in the business of collecting a debt from Plaintiff, and a “consumer debt,” as defined

26   by Cal. Civ. Code §1788.2(f).

27
         10. At all relevant times, Defendant USAA acted as a “debt collector” within the meaning of
     Cal. Civ. Code §1788.2(c)
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         11. Plaintiff had taken out various unsecured loans by way of personal credit cards with
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     USAA beginning in at least 2002.
2
         12. The loans Plaintiff took from Defendant USAA were extended primarily for personal,
3
     family or household purposes and is therefore a “debt” as that terms is defined by the Calif. Civil
4
     Code § 1788.2(d) of the Rosenthal Act.
5
         13. Defendant USAA has been attempting to collect on a debt that originated from monetary
6    credit that was extended primarily for personal, family, or household purposes, and was therefore
7    a “consumer credit transaction” within the meaning of Calif. Civil Code § 1788.2(3) of the
8    Rosenthal Act.
9        14. Because Plaintiff, a natural person allegedly obligated to pay money to Defendant

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     USAA arising from what Plaintiff is informed and believes was a consumer credit transaction,
     the money allegedly owed was a “consumer debt” within the meaning of California Civil Code §
11
     1788.2(f) of the Rosenthal Act.
12
         15. Plaintiff is informed and believes that Defendant is one who regularly collects or
13
     attempts to collect debts on behalf of themselves, and is therefore a “debt collector” within the
14
     meaning of the Calif. Civil Code § 1788.2(c) of the Rosenthal Act, and thereby engages in “debt
15
     collection” within the meaning of the California Civil Code § 1788.2(b) of the Rosenthal Act,
16   and is also therefore a “person” within the meaning of California Civil Code § 1788.2(g) of the
17   Rosenthal Act.
18       16. Plaintiff’s account was an unsecured loan and Plaintiff began making payments on the
19   accounts.

20
         17. Plaintiff’s payment on the account continued for several years before he became
     financially unable to continue with the monthly payment.
21
         18. Plaintiff retained counsel to assist in dealing with USAA debt and to seek some type of
22
     financial relief.
23
         19. Counsel for Plaintiff sent Defendant USAA a letter confirming representation of
24
     Plaintiff, stating that Defendant was to no longer contact Plaintiff directly and that all
25
     calls/letters/collection efforts were to no longer be directed at Plaintiff.
26       20. Counsel for Plaintiff sent the letter of representation to USAA on or about October 12,
27   2018.
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        21. Plaintiff informed USAA that he was revoking his consent, if it was ever previously
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     given, to be called on his telephone in October of 2018.
2
        22. Defendant received Plaintiff’s revocation letter on October 15, 2018. At that time
3
     Defendant was also aware that Plaintiff had retained counsel and that it was to no longer contact
4
     Plaintiff regarding the USAA account.
5
        23. Plaintiff believes that USAA received the letter of representation and revocation of
6    consent in October as his online access to his USAA account was disabled and he was informed
7    an attorney would need to request his account information.
8       24. Plaintiff denies he ever gave his express consent to be contacted on his cellular
9    telephone by automatic dialing machines and pre-recorded messages.

10
        25. Plaintiff believes an ATDS was used by Defendant due to the high number of calls that
     were received on Plaintiff’s cellular telephone.
11
        26. Plaintiff also would hear a long pause and a click before a live person came onto the line
12
     to ask for payment on the USAA account.
13
        27. Plaintiff believes that once a call was received the ATDS transferred the call to a live
14
     person, who then continued to try and collect from Plaintiff on his USAA account.
15
        28. Defendant USAA continued to contact Plaintiff between approximately October 15,
16   2018 – at least February 28, 2019; the type of contact was through phone calls to Plaintiff on his
17   cellular telephone.
18      29. Despite notice being sent Defendant continued to contact Plaintiff on his cellular
19   telephone regarding collection of his outstanding debt.

20
        30. Plaintiff was contacted frequently regarding non-payment of the debt owed to USAA
     despite USAA being notified that Plaintiff had retained counsel to deal specifically with the debt
21
     owed to USAA.
22
        31. USAA’s calls were frequent in nature and continued despite receiving written
23
     confirmation that Plaintiff was represented by an attorney.
24
                                      FIRST CAUSE OF ACTION
25                                    (Violation of the Rosenthal Act)
                                     (Cal. Civ. Code §§ 1788-1788.32)
26                                      (Against Defendant USAA)

27      32. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
28   above as though fully set forth herein.
                                                        4
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         33. Plaintiff provided written notice that he was represented by sending Defendant a letter
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     with the name, address, and contact information of his attorney and informed Defendant that he
2
     was represented.
3
         34. Defendant continued to call and attempt to make contact with Plaintiff despite receiving
4
     notice of representation and being informed that Plaintiff had retained counsel in an effort to deal
5
     with the debt that was owed to Defendant.
6        35. The calls and communications made by Defendant to Plaintiff were not related to
7    statements of Plaintiff’s account and were attempts to collect a debt.
8        36. Plaintiff received frequent calls from USAA from at least October 15, 2018 – February
9    28, 2019.

10
         37. Defendant violated Cal. Civ. Code §1788.14 by contacting Plaintiff after receiving
     noticed that Plaintiff had retained an attorney.
11
         38. Defendant received notice regarding Plaintiff’s retention of counsel but continued to
12
     contact Plaintiff.
13
                                     SECOND CAUSE OF ACTION
14                                        (Violation of the TCPA)
                                              (47 USC § 227)
15                                       (Against Defendant USAA)
16
         39. Plaintiff realleges and incorporates herein the allegation in each and every paragraph
17   above as though fully set forth herein.
18       40. Since at least October of 2018 Defendant started calling Plaintiff’s cellular telephone
19   requesting that payment be made on the accounts Plaintiff held with Defendant.
20       41. Plaintiff informed Defendant that he was revoking consent to be contacted by USAA in

21
     October of 2018.
         42. USAA continued to call Plaintiff frequently since Plaintiff withdrew his consent to be
22
     contacted by an automatic dialing machine.
23
         43. Defendant would contact Plaintiff frequently regarding payment on the accounts.
24
         44. Defendant placed the above cited calls using an artificial or prerecorded voice to deliver
25
     the collection messages without Plaintiff’s prior express consent.
26
         45. Defendant contacted Plaintiff for at least four months after Plaintiff informed Defendant
27   he did not wish to be contacted on his cellular telephone and withdrew any prior consent that
28   may have been given.
                                                        5
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          46. Defendant contacted Plaintiff on at least 179 (one hundred and seventy nine) separate
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     occasions by calling his cellular telephone.
2
          47. All calls placed by Defendant to Plaintiff utilized an “automatic telephone dialing
3
     system” as defined by 47 U.S.C. §227(a)(1).
4
          48. These calls were made to Plaintiff’s cellular telephone and were not calls for an
5
     emergency purposed as defined by 47 U.S.C. §227(b)(1)(B).
6         49. These telephone calls by Defendant, or its agent, violated 47 U.S.C. §227(b)(1)(B).
7
                                         PRAYER FOR RELIEF
8
     WHEREFORE, Plaintiff prays for judgment as follows:
9
                 a. An award of actual damages pursuant to California Civil Code §1788.30(a), as
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                     will be proven at trial, which are cumulative and in addition to all other
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                     remedies provided for in any other cause of action pursuant to California Civil
12
                     Code §1788.32.
13               b. An award of statutory damages of $1,000.00 pursuant to Cal. Civ. Code
14                   §1788.30(b), which are cumulative and in addition to all other remedies
15                   provided for in California Civil Code §1788.32; and

16               c. An award of costs of litigation and reasonable attorney’s fees pursuant to Cal.

17
                     Civ. Code §1788.30(c).
                 d. An award of statutory damages of $1,500.00 pursuant to 47 U.S.C.
18
                     §227(b)(3)(C) for each and every violation.
19
                 e. Pursuant to 47 U.S.C. §227(b)(3)(A), injunctive relief prohibiting such conduct
20
                     in the future.
21
                 f. Pursuant to 15 U.S.C. 1692(k) both actual damages and statutory damages in an
22
                     amount to be proven at trial.
23                                                         GAJP, P.C.
     Dated: April 4, 2019                            By:   /s/ Joe Angelo
24
                                                           Joe Angelo
25                                                         Attorneys for Plaintiff
     //
26   //
27
     //
     //
28   //

                                                       6
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                                     DEMAND FOR JURY TRIAL
1

2           Plaintiff hereby demands trial of this matter by jury.
                                                           GAJP, P.C.
3    Dated: April 4, 2019                                  /s/ Joe Angelo
4
                                                           Joe Angelo
                                                           Attorneys for Plaintiff
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